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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

GREGORY BR.AY ,
Plaintiff,
vs. Civ. No. 04-2626-Ma[P

TONY COOPER, et al.,

Defendants.

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ORDER AMENDING AUGUST 12, 2005 ORDER GRANTING IN PART DEFEN'DANTS'
MOTION FOR AN ORDER REQUIRING THE MEDICAL PROVIDERS OF THE
PLAINTIFF TO RELEASE THE PLAINTIFF'S MEDICAL RECORDS

 

On August 12, 2005, the court entered an order granting in
part the defendants' motion for an order requiring the medical
providers of the plaintiff to release the plaintiff's medical
records. On August 16, 2005, defendants filed objections to this
order with the district judge. On August 19, 2005, the undersigned
held a telephonic conference with the parties. Present on the
telephone were plaintiff, Gregory Bray, and Stephen G. Smith,
counsel for defendants. The undersigned concludes that, after
further consideration of the December 30, 2004 Order of Partial
Dismissal, the plaintiff's injury claims that are still at issue in

this lawsuit are much broader than the injury claims identified in

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the court's August 12, 2005 order, By alleging these broader
injury claims, plaintiff has placed his medical history directly at
issue. Therefore, the court sua sponte amends its August 12 order
and hereby grants, in whole, defendants' motion. A court order
authorizing the release of plaintiff's medical records is attached
hereto.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT FOR THE
WES'I`ERN DISTRICT OF TENNESSEE AT MEMPHIS

 

GREGORY BRAY,
Plaintiff,

v. . No. 04~2626-Ma/P
JURY DEMANDED

TONY COOPER, et al.,

Defendants.

 

m COUR'I` ORDER FOR 'I`HE MEDICAL RECORDS OF GREGORY BRAY

 

WHEREAS on or about l\/[ayl l 1, 2005, defendants Cooper, Stipanuk and Reece moved
this Court for an order permitting the medical records of the plaintiff to be obtained from the
plaintiffs providers pursuant to court order. Based upon the motion and memorandum of these
defendants, the Court finds the motion of these defendants to be Well taken.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that any physician,
psychiatrist psychologist other mental health professional, other health care professional, or
nurse Who has attended or treated Gregory Bray, any hospital or other health care facility at
which Gregory Bray has been examined, treated or confined, or any pharmacy at which he has
obtained prescription drugs is authorized to furnish to counsel for each of the parties, without
further order of this Court and without the necessity of the presentation of an authorization
signed by plaintiff, a formal discovery request, service of a subpoena, or the taking of a medical
records custodian deposition, any and all information, including all “protected health

information" as that term is defined in the Health Insurance Portability and Accountability Act of

EXHIBIT

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1996 (“HIPAA”), in any form or medium that may be requested regarding Gregory Bray’s
physical condition and treatment rendered therefore, and to allow such counsel, the parties, or
any physician appointed by them to examine and obtain copies of any x-ray pictures taken of
Gregory Bray or records regarding Gregory Bray physical condition or treatment This order and
the information as such term is used herein specifically includes all medical records, billing
records, insurance claim forrns, photographs and correspondence related to any treatment
diagnosis or participation in alcohol or drug abuse or mental health programs and all medical
records, billing records, insurance claim forms, photographs and correspondence of a physical,
psychological or psychiatric nature. The authorization as ordered by this Court shall not expire
and shall remain effective until otherwise ordered by this Court or until the final resolution of

this matter in this Court, Whichever shall come first.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the information
obtained by counsel for any of the parties pursuant to this order may be freely exchanged among
counsel for the parties Without further action by this Court or the need for any formal or informal

discovery request.

IT lS FURTHER ORDERED, ADJUDGED AND DECREED that plaintiff is entitled to
receive a copy of all records obtained by defense counsel by use of this Order upon the request of
plaintiffs and upon the payment of reasonable copying costs. Further, plaintiff will be notified of
any request for information pursuant to this Order by the requesting defense counsel at the time
of the requestl Further, counsel for the defendants are entitled to receive a copy of all records
obtained by plaintiff by use of this Order upon the request of counsel for the defendants and

upon payment of reasonable and customary copying costs.

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IT IS FURTHER ORDERED, ADIUDGED AND DECREED that all information
obtained by counsel for defendants pursuant to this Order may be made available for
examination by defendants, consulting and retained experts, employees of counsel for defendants

and other agents acting on behalf of counsel for defendants in furtherance of the defense of this

IT IS SO ORDERED. _...-»-C`:_’\_/%\

IUDGE

DATE; P\USJ¢J»J~ iata ?\3°3/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:04-CV-02626 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

ESSEE

 

Gregory Bray

Northwest Correctional Complex
128878

960 State Route 212

Tiptonville7 TN 38079

Stephen G. Smith

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

l\/lemphis7 TN 38103

Jerry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

l\/lemphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

